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 ORP DETORD (1/15/16)


                                       IN THE UNITED STATES DISTRICT COURT
                                                FOR THE DISTRICT OF OREGON
UNITED STATES OF AMERICA,                                             Case No. 6: l 8-cr-492-MC- 1

            V.

 JOHN WIDENER JORDAN          ORDER OF DETENTION AFTER HEARING (18
- - - - - - - - - - - - - - ~ USC§ 3142(i))
•    On motion of the Government involving an alleged:
            • risk to the safety of any other person or the community for cases involving crimes described in I 8 USC§ 3 I 42(f)(l)
            • serious risk defendant will flee;
          D serious risk defendant will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate a prospective witness or juror
          or attempt to do so,
~    Upon consideration by the court sua sponte involving a:
         ~erious risk defendant will flee;
          D serious risk defendant will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate a prospective witness or juror
          or attempt to do so,

Having considered the nature and circumstances of the offense charged, the weight of evidence against the defendant, the history and
characteristics of the defendant, and the nature and seriousness of the danger to any person and to the community that would be posed by the
defendant's release, the court finds that:

•   The offense charged creates a rebuttable presumption in I 8 USC § 3 I 42( e) that no combination of conditions will reasonably assure the
safety of the community.

~    No condition or combination of conditions will reasonably assure the appearance of defendant as required due to:
     •   Foreign citizenship and/or illegal alien    •    In custody/serving sentence               •·      Substance use/abuse
      D ICE Detainer                                 D Outstanding warrant(s)
                                                                                                   ••       Unknown
                                                                                                         family/employment/community ties
     •   Deportation(s)                              •    Prior failure(s) to appear                •       Unstable/no residence available
      D Multiple or false identifiers                D Mental health issues                           ~formation unverified/unverifiable
     •   Aliases                                                                                       /
     D Prior criminal history, D including drug/drug related offense,      •    including alcohol/alcohol related offense
     •   Prior supervision failure(s),•   Including illicit drug use,•     including alcohol abuse
      D Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
•    No condition or combination of conditions will reasonably assure the safety of other persons and the community due to:
    _5iJ Nature of offense                                                     •  Prior supervision failures
     •   Arrest behavior                                                       •  Substance use/abuse
     •   Possession ofweapon(s)                                                •  Mental health issues
     •   Violent behavior                                                      •  Alleged offense involves child pornography on the internet
      D Prior criminal history, D including drug/drug related offense,         •  including alcohol/alcohol related offense
     •   Prior supervision failure(s),•   Including illicit drug use,          D including alcohol abuse
     •   Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 D Other (writ/serving federal or state sentence): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
• Defendant has not rebutted by sufficient evidence to the contrary the presumption provided in 18 USC§ 3142(e).
~ e defendant is detained without prejudice to further review by the court at a later date.
THEREFORE, IT IS ORDERED that:
        I.        Defendant is detained prior to trial;
        2.        Defendant is committed to the custody of the Attorney General for confinement in a corrections facility separated, as far
                  as practicable, from persons awaiting or serving sentences or eing held in custody pending appeal;
        3.        Defendant shall be afforded a reasonable opportunity for priv te consultation with his counsel;
        4.       The superintendent of the corrections facility in which defe     nt is confined shall make the defendant available to the
                  United States Marshal for the purpose of appearance in co

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 1 - DETENTION ORDER
